

Shapiro v Syracuse Univ. (2022 NY Slip Op 06407)





Shapiro v Syracuse Univ.


2022 NY Slip Op 06407


Decided on November 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 10, 2022

PRESENT: WHALEN, P.J., SMITH, CENTRA, NEMOYER, AND WINSLOW, JJ. (Filed Nov. 10, 2022.) 


MOTION NO. (301/22) CA 21-00604.

[*1]JOHN SHAPIRO, DAVID SWEET AND A.A., PLAINTIFFS-APPELLANTS-RESPONDENTS, 
vSYRACUSE UNIVERSITY, DEFENDANT-APPELLANT, BOARD OF TRUSTEES OF SYRACUSE UNIVERSITY, DEFENDANT, CAMP GREYLOCK FOR BOYS, INC., CAMP GREYLOCK, INC., ALSO KNOWN AS MARHORN, INC., MICHAEL MARCUS, AND LUKAS HORN, DEFENDANTS-RESPONDENTS.



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals denied.








